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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION



 GLORIA WILLIAMS, individually and on behalf
 of all other persons similarly situated,

         Plaintiff,

 v.                                                           Cause No. 3:18-cv-1494

 FORTUNEBUILDERS, INC.


         Defendant.


                      VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiffs Gloria Williams and Juan Montalvo, by counsel Hughes Ellzey, hereby dismiss

this case with prejudice and request the Court to enter the enclosed Order of Dismissal With

Prejudice.

                                               Respectfully submitted,

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